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                                                     February 10, 2022


          The Hon. James K. Bredar, Chief Judge
          United States District Court.
          District of Maryland
          101 West Lombard Street
          Baltimore, Maryland 21201

                    Re:       United States v. Scott Ryan Merryman
                              Crim. Case No. 22-0310-ADC

          Dear Chief Judge Bredar:

          I am writing to update the Court and government counsel on our efforts to find a suitable alternative
          to pretrial incarceration for Mr. Merryman. The defense team has consulted with multiple experts
          and explored a variety of possible avenues for connecting Mr. Merryman with intensive inpatient
          mental health treatment. We still have not identified a solution that satisfies the Court’s preference
          for a secure residential facility. We are continuing to identify and investigate possible options. In
          the meantime, I would like to update the Court and the government on the following matters.

          Dr. O’Connell’s Evaluation

          In accordance with the Court’s order, Dr. Michael O’Connell, a licensed forensic psychologist,
          completed a forensic mental health evaluation of Mr. Merryman at the Greenbelt courthouse on
          February 8, 2022. Dr. O’Connell has prepared a letter report summarizing his impressions, which
          we will separately file as Exhibit A (under seal). In brief, Dr. O’Connell concluded that Mr.
          Merryman meets the criteria for the following diagnoses:

               •    Unspecified Bipolar and Related Disorder with Mood Congruent Psychotic Features
               •    Post-Traumatic Stress Disorder
               •    Alcohol Use Disorder in Early Remission, In a Controlled Environment
               •    Attention Deficit Hyperactivity Disorder, Combined Presentation
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In addition, Dr. O’Connell evaluated Mr. Merryman for competency to stand trial. Dr. O’Connell
opined that Mr. Merryman was competent to stand trial at the time of the evaluation. However, in
light of the fluidity of his mental health, Mr. Merryman’s competency status could change.

Dr. O’Connell noted that records from PG County Detention Center do not reflect that Mr.
Merryman has received a psychiatric evaluation there or that he is receiving medications for
bipolar disorder or psychosis. Dr. O’Connell recommends that the Court consider placing Mr.
Merryman in an in-patient psychiatric hospital for treatment.

VA Treatment Options

After pursuing many different avenues with the Veterans Administration (VA), we have not been
able to identify a treatment facility that meets the criteria of a locked, long-term, residential mental
health program. As stated in our initial motion, we were originally advised by the VA that locked,
long-term, residential mental health treatment is provided locally through the VA’s facility in Perry
Point, Maryland. We subsequently received conflicting information from the VA about whether
the Perry Point facility is in fact locked.

Undersigned counsel spoke on February 8, 2022 with Suzanne Greer, a social worker who the VA
identifies on its public website as the “Mental Health Point of Contact” for the Maryland VA, in
an attempt to resolve this discrepancy.

Ms. Greer advised that the VA no longer maintains a locked residential mental health unit at its
Perry Point facility. Ms. Greer further advised that the VA no longer offers a long-term mental
health care in a locked setting at any of its facilities nationwide. According to Ms. Greer, if Mr.
Merryman were admitted to a VA hospital for acute psychiatric care, he could be held in a locked
mental health unit for a maximum of three days. If he were admitted to the long-term residential
program at Perry Point, he could remain there for up to 90 days; however, that is not a secure
facility. While staff would supervise and monitor Mr. Merryman’s compliance with treatment and
medication, they could not physically prevent him from leaving the facility.

St. Elizabeths Hospital

The Maryland VA (Ms. Greer) suggested that St. Elizabeths Hospital in Washington, D.C. would
be a more suitable care setting for Mr. Merryman. St. Elizabeths is a public psychiatric hospital
operated by the District of Columbia Department of Behavioral Health. According to its website:

       Saint Elizabeths Hospital is the District’s public psychiatric facility for individuals
       with serious and persistent mental illness who need intensive inpatient care to
       support their recovery. Saint Elizabeths also provides mental health evaluations and
       care to patients committed by the courts. The Hospital develops a personalized
                                                   2
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       treatment plan to help each patient achieve the highest quality mental health
       outcomes.

https://dbh.dc.gov/page/saint-elizabeths-hospital.

The issues, of course, with St. Elizabeths are (1) how to get Mr. Merryman a bed, and (2) who
would pay for Mr. Merryman’s care. The posted all-inclusive per diem charge is $1236. See id.
The Maryland VA (Ms. Greer) advised that they do not have a point of contact at the VA to assist
with getting Mr. Merryman into treatment there.

Undersigned counsel subsequently spoke with the Deputy General Counsel of the D.C.
Department of Behavioral Health, Tracey Richardson, on February 9, 2022. Ms. Richardson
advised that St. Elizabeth has “no arrangement with the feds” and was not able to identify any
clear path for getting a federal court detainee admitted to St. Elizabeths. Ms. Richardson advised
that the pandemic has put additional strains on St. Elizabeths’ capacity. She did not rule out the
possibility that a federal detainee could be treated there but was pessimistic about the likelihood
of this happening anytime soon.

BOP Medical Centers

As stated in Court, it is our view that the Bureau of Prisons is not a suitable environment for Mr.
Merryman’s mental health treatment, because even its Federal Medical Centers (FMCs) are prisons
first and foremost, not hospitals. In addition, Mr. Merryman’s risk of suicide is higher in a
correctional environment than in a hospital. 1

Nevertheless, in light of the lack of other clear options, we have considered the possibility of
securing a mental health bed for Mr. Merryman in an FMC. It is the defense’s position that a
competency evaluation is not needed at this time. 2 However, if the Court were to order a
competency evaluation, Mr. Merryman could be sent to an FMC for that purpose under 18 U.S.C.
§ 4241(b). Under § 4247(b), the BOP would have 30 days (with a possible extension not to exceed
15 days) to complete the examination.

The BOP currently has a lengthy waiting period for these FMC beds. This has been the subject of
litigation in this District recently. A status report filed by the government on January 26, 2022 in

1
    See, e.g., U.S. DOJ, Nat’l Inst. of Corrections Suicide in Corrections, at
https://nicic.gov/projects/suicide-in-corrections (last viewed February 10, 2022) (“The rates of
inmate suicide are far higher than the national averages….”).
2
  As noted in Dr. O’Connell’s letter, he considered the question of competency and concluded that
Mr. Merryman was competent to stand trial as of the evaluation date; however, his mental health
is fluid and competency could change. See Exhibit A.
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the case of U.S. v. Cardell Haynesworth, states that the wait time for admission to an FMC for
purposes of a forensic evaluation is approximately three to five months. See ECF 36, Case No.
20-cr-340-PX (D. Md.) (Jan. 26, 2022). According to the BOP, “[t]here are significant wait times
for beds into the BOP medical facilities due to limited staffing, resources and bed availability.”
Id. at Ex. 1. A document prepared by the BOP outlines the procedures for allocating those bed
spaces across the 94 USMS districts. See id. In the Haynesworth case, Judge Xinis ordered the
defendant committed to an FMC on June 21, 2021; he was eventually delivered to FMC Butner on
November 30, 2021—more than five months later. See id. at 1-2.

The FMC wait times have resulted in litigation over Speedy Trial Act violations in the
Haynesworth case and others. The U.S. District Court in the District of Columbia recently
dismissed a case involving charges of armed carjacking on speedy trial grounds, when the BOP
was unable to complete a competency restoration evaluation within the statutorily authorized four-
month time period. See Memorandum Opinion (ECF No. 81), U.S. v. Antwan Carter, Case No.
19-cr-261 (D.D.C) (Jan. 27, 2022). In that case, the defendant had not even been transported to an
FMC when the four-month period for completing the study lapsed. See id. at 10-11. As a result,
the court granted a motion to dismiss filed by the defense. See id. at 19.

In light of these delays, it does not appear that treatment in an FMC is likely to be an option for
Mr. Merryman in the near future.

Ongoing Discussions with the VA

Undersigned counsel has reached out to the General Counsel of the VA to request assistance in
devising a solution that addresses Mr. Merryman’s needs as well as the Court’s concerns. We
hope to have further information from the VA to share with the Court and the government in
advance of next Tuesday’s hearing.



                                            Respectfully,

                                                /s/

                                            Elizabeth G. Oyer




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